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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



L. LIN WOOD, JR.,

      Plaintiff,
                                        CIVIL ACTION FILE
v.
                                        NO. 1:20-cv-5155-TCB
BRAD RAFFENSPERGER;
REBECCA N. SULLIVAN;
DAVID J. WORLEY;
MATTHEW MASHBURN; and
ANH LE,

      Defendants.



                               ORDER

     This case comes before the Court on Plaintiff L. Lin Wood, Jr.’s

motion for a temporary restraining order (“TRO”).

      Pursuant to that motion, the Court sets the following schedule:

Defendants’ response to Wood’s motion for a TRO will be due on

Wednesday, December 23, 2020 by 5:00 p.m., EST. Any reply brief will

be due on Sunday, December 27, by 5:00 p.m., EST.
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     Should a hearing on Plaintiffs’ motion be deemed necessary

following the conclusion of the parties’ briefing, that hearing will be

held on Wednesday, December 30, at 10:00 a.m., EST.

     IT IS SO ORDERED this 20th day of December, 2020.



                                   ____________________________________
                                   Timothy C. Batten, Sr.
                                   United States District Judge




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